Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 1 of 10 PageID #: 298




                              United States District Court
                                      EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION


 FEDERAL TRADE COMMISSION                               §
                                                        §
 v.                                                     § CIVIL ACTION NO. 4:19-CV-715-SDJ
                                                        §
 ADVOCARE INTERNATIONAL, L.P.,                          §
 ET AL.

                              ORDER GOVERNING PROCEEDINGS

        This Order shall govern proceedings in this case. The following deadlines are hereby set:

        1.       Rule 26(f) attorney conference on or before: December 5, 2019.

        2.       Complete initial mandatory disclosures required by this Order: December 16,
                 2019.

        3.       File joint report of attorney conference: December 19, 2019. This should follow
                 initial mandatory disclosures, so a realistic proposal regarding depositions and
                 other discovery can be included.

        4.       The case is SET for a Rule 16 management conference on Tuesday, January 7,
                 2020, at 1:30 p.m. at the United States Courthouse, 7940 Preston Road, Plano,
                 Texas 75024. Lead counsel for each party, with authority to bind their respective
                 clients, and all unrepresented parties, shall be present. Continuance of the
                 management conference will not be allowed absent a showing of good cause.1

                          RULE 26(f) ATTORNEY CONFERENCE

        Rule 26(f) requires attorneys of record and all unrepresented parties to confer and attempt
in good faith to agree on a proposed scheduling order (see Appendix 1) and to electronically file a
joint report outlining their proposals. The conference may be by telephone.

       Before commencing the Rule 26(f) conference, counsel must discuss settlement options
with their clients, including whether an offer or demand should be made at the Rule 26(f) attorney
conference.

        The parties must include the following matters in the joint conference report:

         1
           Before the case management conference, counsel and unrepresented parties should review the most recent
versions of the Federal Rules of Civil Procedure and the Local Rules for the Eastern District of Texas. The Local
Rules are available on the Eastern District of Texas website (www.txed.uscourts.gov).
Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 2 of 10 PageID #: 299




     1.    A brief factual and legal synopsis of the case.

     2.    The jurisdictional basis for this suit.

     3.    A list of the correct names of the parties to this action and any anticipated additional
           or potential parties.

     4.    A list of any cases related to this case pending in any state or federal court,
           identifying the case numbers and courts along with an explanation of the status of
           those cases.

     5.    Confirm that the initial disclosures required by Rule 26(a)(1) and this order have
           been completed.

     6.    Proposed scheduling order deadlines. Appendix 1 has the standard deadlines.
           Explain any deviations from the standard schedule. Now is the time to inform the
           Court of any special complexities or need for more time before the trial setting.
           The standard schedule is planned so that there is time to rule on dispositive motions
           before parties begin final trial preparation.

     7.    Describe in accordance with Rule 26(f):

           (i)     The subjects on which discovery may be needed, when discovery should be
                   completed, and whether discovery should be conducted in phases or be
                   limited to or focused on particular issues.

           (ii)    Any issues relating to disclosure or discovery of electronically stored
                   information (“ESI”), including the form or forms in which it should be
                   produced (whether native or some other reasonably usable format) as well
                   as any methodologies for identifying or culling the relevant and
                   discoverable ESI. Any disputes regarding ESI that counsel for the parties
                   are unable to resolve during their conference must be identified in the report.

           (iii)   Any agreements or disputes relating to asserting claims of privilege or
                   preserving discoverable information, including electronically stored
                   information and any agreements reached under Federal Rule of
                   Evidence 502 (such as the potential need for a protective order and any
                   procedures to which the parties might agree for handling inadvertent

                                              2
Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 3 of 10 PageID #: 300



                      production of privileged information and other privilege waiver issues). A
                      party asserting that any information is confidential should immediately
                      apply to the Court for entry of a protective order.

               (iv)   Any changes that should be made in the limitations on discovery imposed
                      by the Rules, whether federal or local, and any other limitations that should
                      be imposed.

               (v)    Whether any other orders should be entered by the Court pursuant to Federal
                      Rule of Civil Procedure 26(c) or Rule 16(b), (c).

       8.      State the progress made toward settlement and the present status of settlement
               negotiations, including whether a demand and/or an offer has been made. If the
               parties have agreed upon a mediator, also state the name, address, and phone
               number of that mediator and a proposed deadline for mediation. An early date is
               encouraged to reduce expenses. The Court will appoint a mediator if none is agreed
               upon.

       9.      The identity of persons expected to be deposed.

       10.     Estimated trial time and whether a jury demand has been timely made.

       11.     The names of the attorneys who will appear on behalf of the parties at the
               management conference (the appearing attorney must be an attorney of record and
               have full authority to bind the client).

       12.     Any other matters that counsel deem appropriate for inclusion in the joint
               conference report or that deserve the special attention of the Court at the
               management conference.

                                         DISCOVERY

        Initial mandatory disclosures pursuant to Rule 26(a)(1) shall be completed not later than
10 days after the deadline for the Rule 26 attorney conference and shall include the following,
in addition to information required by Rule 26(a)(1):

       1.      The correct names of the parties to the action.



                                                 3
Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 4 of 10 PageID #: 301



       2.      The name and, if known, address and telephone number of any potential parties to
               the action.

       3.      The name and, if known, the address and telephone number of persons having
               knowledge of facts relevant to the claim or defense of any party, a brief
               characterization of their connection to the case, and a fair summary of the substance
               of the information known by such person. This may be combined with the list of
               persons required under Rule 26(a)(1)(A)(i) so two lists are not needed.

       4.      The authorizations described in Local Rule CV-34.

       5.      A copy of all documents, electronically stored information, witness statements, and
               tangible things in the possession, custody, or control of the disclosing party that are
               relevant to the claim or defense of any party. This may be combined with
               disclosures under Rule 26(a)(1)(A)(ii) so duplication is avoided. In cases involving
               a disproportionate burden of disclosure of a large number of documents on one
               party, the parties may agree on prior inspection to reduce the need for copies.
               Parties are encouraged to agree upon provision of information by electronic means.
               See Local Rule CV-26(d) for the meaning of “relevant to the claim or defense of
               any party.”

        A party that fails to timely disclose such information will not, unless such failure is
harmless, be permitted to use such evidence at trial, at a hearing, or in support of a motion.
A party is not excused from making its disclosures because it has not fully completed its
investigation of the case. Moreover, the proportionality standard set forth in Rule 26(b)(2)(C)
should be applied in each case when formulating a discovery control plan. To further the
application of the proportionality standard in discovery, requests for production of ESI and related
responses should be reasonably targeted, clear, and as specific as practicable.

        Early Rule 34 requests may be delivered in compliance with Rule 26(d)(2). See FED. R.
CIV. P. 26(d)(2). However, these requests are not considered served until the Rule 26(f) conference
has occurred. All other discovery shall not commence until the Rule 26(f) conference. See FED. R.
CIV. P. 26(d), 34. Depositions may be taken, and initial mandatory disclosures shall occur, before
the Rule 16 management conference, so that counsel are in a position to intelligently discuss
additional required discovery, and scheduling of the case.

       Following the management conference, the Court will enter a scheduling order setting
deadlines controlling disposition of the case. If the Court concludes that a management


                                                 4
Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 5 of 10 PageID #: 302



conference is not necessary after receiving the parties’ Rule 26(f) report, it may enter a
scheduling order and cancel the management conference.

         The fact that the scheduling order will have a deadline for completion of discovery is NOT
an invitation, or authorization, to withhold documents or information required to be disclosed as
part of initial mandatory disclosures under the guise of “supplementation.” Attorneys are expected
to review their clients’ files and to conduct at least preliminary interviews of their clients and
potential witnesses under their control, so as to fully comply with the initial mandatory disclosure
requirements by the deadline set in this order. This will allow experts to be timely identified and
prepared to testify, witnesses to be efficiently deposed, and any follow-up paper discovery to be
completed by the deadline to be set for completion of discovery. The Court expects that, in most
cases, after reading the pleadings and having a frank discussion of the issues and discovery during
the Rule 26 attorney conference, a review of the opposing party’s initial disclosures should alert
an attorney to any remaining information which should have been disclosed, so that such
information can be provided before the Rule 16 management conference.

                                     DISCOVERY DISPUTES

         In the event the parties encounter a discovery dispute, no motions to compel may be filed
until after the parties fulfill the “meet and confer” requirement imposed by this Court’s Local Rule
CV-7(h). If the parties are unable to resolve the dispute without court intervention, the parties must
then call the Court’s chambers to schedule a telephone conference regarding the subject matter of
the dispute prior to filing any motion to compel. After reviewing the dispute, the Court will resolve
the dispute, order the parties to file an appropriate motion, or direct the parties to call the discovery
hotline.

       A magistrate judge is available during business hours to immediately hear discovery
disputes and to enforce provisions of the rules. The hotline is an appropriate means to obtain an
immediate ruling on whether a discovery request is relevant to the claims or defenses and on
disputes which arise during depositions. The hotline number is (903) 590-1198. See Local Rule
CV-26(e).

                              CONTESTED MOTION PRACTICE

       Counsel and parties shall comply with Local Rules CV-7, 10, 11, and 56, in addition to the
Federal Rules of Civil Procedure. Local Rule CV-7 requires you to attach affidavits and other
supporting documents to the motion or response. Labeled tabs on the attachments to the courtesy
copy will make it easier to find them.


                                                   5
Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 6 of 10 PageID #: 303



       If a document filed electronically exceeds twenty (20) pages in length, including
attachments, a paper copy of the filed document must be sent contemporaneously to Judge Jordan’s
chambers in Plano. The parties are also encouraged, although not required, to send a paper copy
of any document ten (10) pages or more in length, including attachments, to Judge Jordan’s
chambers.

        Pursuant to Local Rule CV-7(b), highlight in the courtesy copy the portions of the affidavits
or other supporting documents which are cited in your motion or response.

        Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and Local Rule
CV-7(f). The parties are reminded that “[t]he court need not wait for the reply or sur-reply before
ruling on the motion.” Local Rule CV-7(f) (emphasis added).

                      SAFEGUARDING PERSONAL INFORMATION

        The Judicial Conference of the United States has implemented policies to protect sensitive
private information about parties, witnesses, and others involved in a civil, criminal, or bankruptcy
case. To that end, all documents filed with the Court and made available to the public, whether
electronically or on paper, should limit certain information as follows:

       •               for Social Security numbers, use only the last four digits;
       •               for financial account numbers, use only the last four digits;
       •               for names of minor children, use only their initials;
       •               for dates of birth, use only the year; and
       •               (in criminal cases) for home addresses, use only the city and state.

         If such information is elicited during testimony or other court proceedings, it will become
available to the public when the official transcript is filed at the courthouse unless and until it is
redacted. The better practice is for you to avoid introducing this information into the record in the
first place. Please take this into account when questioning witnesses or making other statements in
court.

                                      FAILURE TO SERVE

        Any defendant who has not been served with the summons and complaint within 90 days
after the filing of the complaint shall be dismissed, without further notice, unless prior to such
time the party on whose behalf such service is required shows good cause why service has not
been made. See FED. R. CIV. P. 4(m).


                                                  6
    Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 7 of 10 PageID #: 304



                                         FICTITIOUS PARTIES

             The name of every party shall be set out in the complaint. See FED. R. CIV. P. 10(a). The
    use of fictitious names is disfavored by federal courts. See, e.g., Doe v. Blue Cross & Blue Shield,
    112 F.3d. 869 (7th Cir. 1997). It is hereby ORDERED that this action be DISMISSED as to all
    fictitious parties. Dismissal is without prejudice to the right of any party to take advantage of the
    provisions of Fed. R. Civ. P. 15(c).

                                             SETTLEMENT

           Plaintiff’s counsel shall immediately notify the Court upon settlement.


.                                            COMPLIANCE

            Attorneys and pro se litigants who appear in this court must comply with the deadlines set
    forth in the Federal Rules of Civil Procedure, the Local Rules for the Eastern District of Texas,
    and this order. A party is not excused from the requirements of a Rule or scheduling order by
    virtue of the fact that dispositive motions are pending, the party has not completed its
    investigation, the party challenges the sufficiency of the opposing party’s disclosures, or
    because another party has failed to comply with this order or the rules.

           Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
    Procedure, or this order may result in the exclusion of evidence at trial, the imposition of sanctions
    by the Court, or both. Counsel are reminded of Local Rule AT-3, particularly AT-3(I) & (J).


    So ORDERED and SIGNED this 14th day of November, 2019.




                                                       ____________________________________
                                                       SEAN D. JORDAN
                                                       UNITED STATES DISTRICT JUDGE




                                                      7
Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 8 of 10 PageID #: 305



                                                      Appendix 1

                            PROPOSED SCHEDULING ORDER DEADLINES

         The following actions shall be completed by the date indicated. 1 (The times indicated are
the standard for most cases. Counsel should be prepared to explain the need for requested changes).

____________________                          Deadline for motions to transfer
(1 week after mgmt conf.)

____________________                           Deadline to add parties
(6 weeks after mgmt conf.)

____________________                          Mediation must occur by this date.
(6 weeks prior to mediation ddl)              Deadline by which the parties shall notify the Court of the
                                              name, address, and telephone number of the agreed-upon
                                              mediator, or request that the Court select a mediator, if they
                                              are unable to agree on one.

______________ _____                          Disclosure of expert testimony pursuant to FED. R. CIV. P.
(10 weeks after mgmt. conf.)                  26(a)(2) and Local Rule CV-26(b) on issues for which the
                                              party bears the burden of proof.

_________________ ___                         Deadline for Plaintiff to file amended pleadings
(12 weeks after mgmt conf.)                   (A motion for leave to amend is required.)

______________ ______                         Disclosure of expert testimony pursuant to FED. R. CIV. P.
(14 weeks after mgmt. conf.)                  26(a)(2) and Local Rule CV-26(b) on issues for which the
                                              party does not bear the burden of proof.

____________________                          Deadline for Defendant’s final amended pleadings
(14 weeks after mgmt conf.)                   (A motion for leave to amend is required.)


____________________
(6 weeks after disclosure                     Deadline to object to any other party’s expert witnesses.
of an expert is made)                         Objection shall be made as a motion to strike or limit
                                               expert testimony and shall be accompanied by a copy
                                               of the expert’s report in order to provide the court with
                                               all the information necessary to make a ruling on any
                                               objection




1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in FED. R. CIV. P. 6, the effective date is the
first federal court business day following the deadline imposed.

                                                            8
Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 9 of 10 PageID #: 306




____________________                 Deadline for motions to dismiss, motions for summary
(20 weeks after mgmt conf.           judgment, or other dispositive motions.
but no later than 110 days prior
to deadline for submission of
Joint Final Pretrial Order)


_________________ ___                All discovery shall be commenced in time to be completed
(24 weeks after mgmt conf.)          by this date.


_____________________                 Notice of intent to offer certified records
(6 weeks before final pretrial conf.)


____________________                  Counsel and unrepresented parties are each responsible for
(6 weeks before final pretrial conf.) contacting opposing counsel and unrepresented parties to
                                      determine how they will prepare the Joint Final Pretrial
                                      Order and Joint Proposed Jury Instructions and Verdict
                                      Form (or Proposed Findings of Fact and Conclusions of Law
                                      in non-jury cases).

____________ ________                 Video Deposition Designation due. Each party who
(5 weeks before final pretrial conf.) proposes to offer a deposition by video shall serve on all
                                      other parties a disclosure identifying the line and page
                                      numbers to be offered. All other parties will have seven
                                      calendar days to serve a response with any objections and
                                      requesting cross examination line and page
                                      numbers to be included. Counsel must consult on any
                                      objections and only those which cannot be resolved shall be
                                      presented to the court. The party who filed the initial Video
                                      Deposition Designation is responsible for preparation of the
                                      final edited video in accordance with all parties’
                                      designations and the court’s rulings on objections.

______ ______________                 Motions in limine due
(30 days before final pretrial conf.) File Joint Final Pretrial Order (See www.txed.uscourts.gov).




                                                 9
Case 4:19-cv-00715-SDJ Document 21 Filed 11/14/19 Page 10 of 10 PageID #: 307



_____________________                        Response to motions in limine due 2

(2 weeks before final pretrial conf.) File objections to witnesses, deposition extracts, and
                                      exhibits, listed in pre-trial order. 3 (This does not extend
                                      deadline to object to expert witnesses.)
                                      File Proposed Jury Instructions/Form of Verdict (or
                                      Proposed Findings of Fact and Conclusions of Law).

Date will be set by Court.                   If numerous objections are filed, the court may set a
Usually within 10 days prior                 hearing to consider all pending motions and objections.
to final pretrial conf.

November 12, 2020                            Final Pretrial Conference at 9:00 a.m. at the United States
                                             Courthouse located at 7940 Preston Road, Plano, Texas
                                             75024. Parties should be prepared to try case. All cases on
                                             the Court’s Final Pretrial Conference docket for this day
                                             have been set at 9:00 a.m. However, prior to the Final
                                             Pretrial Conference date, the Court will set a specific time
                                             between 9:00 a.m. and 4:00 p.m. for each case, depending
                                             on which cases remain on the Court’s docket.

to be determined                             10:00 a.m. Jury selection and trial (or bench trial) at the
                                             United States Courthouse located at 7940 Preston Road,
                                             Plano, Texas 75024. Cases that remain for trial following
                                             the Court’s Pretrial docket will be tried between January 1,
                                             2021, and January 31, 2021. A specific trial date in this time
                                             frame will be selected at the Final Pretrial Conference.




2
  This is not an invitation or requirement to file written responses. Most motions in limine can be decided without a
written response. But, if there is particularly difficult or novel issue, the Court needs some time to review the matter.
To save time and space respond only to items objected to. All others will be considered to be agreed. Opposing
counsel shall confer in an attempt to resolve any dispute over the motions in limine within five calendar days of the
filing of any response. The parties shall notify the court of all the issues which are resolved.
3
  Within five calendar days after the filing of any objections, opposing counsel shall confer to determine whether
objections can be resolved without a court ruling. The parties shall notify the court of all issues which are resolved.
The court needs a copy of the exhibit or the pertinent deposition pages to rule on the objection.

                                                           10
